         Case 21-32124 Document 3 Filed in TXSB on 06/23/21 Page 1 of 7




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                          §
                                                §
BGT INTERIOR SOLUTIONS, INC.                    §           CASE NO. 21-21-32124-H5-11
     Debtor                                     §                (Chapter 11)

       EMERGENCY MOTION FOR AUTHORITY TO USE CASH COLLATERAL;
      REQUEST FOR PRELIMINARY HEARING AND GIVING NOTICE OF FINAL
            HEARING PURSUANT TO BANKRUPTCY RULES 4001(b)(2)

            NOTICE PURSUANT TO BANKRUPTCY LOCAL RULE 4001(b)

 This Motion seeks an order that may adversely affect you. If you oppose the Motion, should
 immediately contact the moving party to resolve the dispute. If you and the moving party
 cannot agree, you must file a response and send a copy to the moving party. You must file and
 serve your response within 14 days of the date this was served on you. Your response must
 state why the Motion should not be granted. If you do not file a timely response, the relief may
 be granted without further notice to you. If you oppose the motion and have not reached an
 agreement, you must attend the hearing. Unless the parties agree otherwise, the court may
 consider evidence at the hearing and may decide the motion at the hearing.

 Represented parties should act through their attorney.

 Emergency consideration has been requested. If the court allows a shorter response time than
 14 days, you must respond within that time. If the court sets an emergency hearing before the
 response time will expire, only attendance at the hearing is necessary to preserve your rights.
 If an emergency hearing is not set, you must respond before the response time expires.

To:     The Honorable Eduardo V. Rodriguez,
        United States Bankruptcy Judge:

        COMES NOW, BGT Interior Solutions, Inc., Debtor In Possession herein (“Debtor”),
and files this Emergency Motion For Authority to Use Cash Collateral; Request for Preliminary
Hearing and Giving Notice of Final Hearing Pursuant to Bankruptcy Rule 4001(b)(2) and, in
support thereof, would respectfully show as follows:

                            BASIS FOR EMERGENCY RELIEF

       1.      An emergency exists because the Debtor faces immediate and irreparable harm to
the estate absent the emergency consideration of the relief requested in this Motion. The
immediate use is necessary, and it will stabilize the Debtor’s operations and revenue by paying
ordinary, post-petition operating expenses, as well as any court approved pre-petition expenses
         Case 21-32124 Document 3 Filed in TXSB on 06/23/21 Page 2 of 7




that may be at issue. As a result, if an emergency hearing is not set, the Debtor will be unable to
operate.

                                JURISDICTION AND VENUE

        2.       This Court has jurisdiction over this case and this matter pursuant to 28 U.S.C. §§
157 and 1334. This is a core proceeding within the meaning of 28 U.S.C. §157. Venue is proper
in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a). The statutory predicate for the relief
sought is 11 U.S.C. §363.

                                        BACKGROUND

        3.     On June 23, 2021, (“Petition Date”) the Debtor filed a Voluntary Petition for
relief under Chapter 11 of the United States Code (“Bankruptcy Code”) in the United States
Bankruptcy Court for the Southern District of Texas, Houston Division. Pursuant to 11 U.S.C.
§§ 1107(a), 1108, the Debtor is operating its business and managing its property as a debtor-in-
possession. No trustee or examiner has been appointed, and no official committee of unsecured
creditors has yet been formed.

        4.      Formed in 2001, the Debtor owns and operates a business known as BGT Interior
Services, Inc., which is a leading provider of multi-family luxury interior finish packages to the
construction industry in Texas and nationwide. The company specializes in custom turn-key
flooring and countertop packages to fit a variety of multi-family, hospitality, or commercial
settings. This company offers custom design services and interior finish packages, providing its
customers a single point of contact from fabrication to installation. The Debtor employ
approximately 45 employees and contractors.

       5.     On or about March 13, 2017, the Debtor entered into a promissory note with
Green Bank, N.A. (“Green Bank”) in the principal amount of $3,300,000.00 (“Stock Note”).
The Stock Note was secured by the Debtor’s deposit accounts, all money, instruments, securities,
documents, chattel paper, credits, claims, demands, and all other property rights or interests of
the Debtor (“Collateral”) as evidenced by a UCC-1 Financing Statement filed on or about March
15, 2017. The Stock Note was assigned to Veritex Bank, N.A. (“Veritex”) effective May 16,
2019. Veritex is now the holder of the Stock Note.

        6.      On or about March 13, 2017, the Debtor also entered into a Line of Credit
Agreement with Green Bank in the principal balance to $4,000,000.00 (“LOC”). On or about
November 20, 2020, the LOC was modified the increase the principal balance of $5,000,000.00.
The LOC is secured by the Debtor’s tangible and intangible assets including accounts, inventory,
furniture, fixtures, and equipment, as evidenced by the UCC-1 Financing Statement filed
effective January 18, 2018. The LOC was assigned to Veritex effective May 16, 2019. Veritex is
now the holder of the LOC.

       7.     On or about July 24, 2017, the Debtor also entered into an equipment purchase
financing agreement with Green Bank in the principal amount of $600,000.00 (“Equipment
Note”) which is secured by the inventory, raw materials, or works in progress of the Debtor. The
         Case 21-32124 Document 3 Filed in TXSB on 06/23/21 Page 3 of 7




Equipment Loan was assigned to Veritex effective May 16, 2019. Veritex is now the holder of
the Equipment Loan.

       8.     On or about July 14, 2020, the Debtor obtained an Economic Injury Disaster Loan
through the US Small Business Administration (“SBA”) in the principal amount of $150,000.00
(“SBA Loan”). The SBA Loan is secured against all tangible and intangible assets of the Debtor
as evidenced by the UCC-1 Financing Statement filed effective July 14, 2020.

       9.    As of the commencement of this case, the Debtor is indebted to Veritex Bank on
the Stock Note in the approximate amount of $1,456,850.00, on the LOC in the approximate
amount of $3,334,974.00, and on the Equipment Loan in the approximate amount of
$150,000.00. The Debtor is also indebted to the SBA in the amount of $150,000.00.

       10.     This case was filed as a result of the Debtor's reduction in available cash arising
from the enforcement efforts of The Weitz Supply Chain, LLC on its judgment in excess of
$2,000,000.00.

       11.     The Debtor's regular business operations and use of its assets generates sales on a
daily basis. The Debtor’s tangible and intangible assets, including funds derived from the
operation of its business, are subject to Veritex’s lien and are Veritex cash collateral ("Cash
Collateral").

       12.     The assets comprising the Cash Collateral are the Debtor’s sole source of funds to
continue to operate its business. The Debtor requires the use of the Cash Collateral and funds
generated from its operations to continue to operate its business, to maintain a going concern
value of the business, and to ensure that adequate funds are available for normal and customary
business expenses and operating needs including utilities, maintenance, insurance, payroll,
inventory purchases, and taxes.

                                    RELIEF REQUESTED

        13.     Pursuant to Bankruptcy Rule 4001(b), the following summarizes the material
terms of the Interim Order. The Debtors seek authority to use the Cash Collateral. As used
herein, the term “Cash Collateral” means monies in the possession of Debtor on the Petition
Date, or received by after the Petition Date in respect of or arising out of Debtors’ use, sale,
consumption or other disposition of any Pre-Petition Collateral or Replacement Collateral
(defined below). The Debtor seeks to use such Cash Collateral as working capital in the
operation of its business for the limited purposes specified in, and at least for the period defined
in the attached Budget.

       14.     As adequate protection for the diminution in value of the Pre-Petition Collateral
or Replacement Collateral caused by the Debtor’s use of the Cash Collateral, the Debtor will (i)
maintain the value of its business as a going concern and (ii) provide Veritex replacement liens
upon the Debtor’s assets and proceeds thereof including but not limited to post-petition accounts,
accounts receivable and cash (collectively, the “Replacement Collateral”).
         Case 21-32124 Document 3 Filed in TXSB on 06/23/21 Page 4 of 7




       15.     By this Motion, pursuant to 11 U.S.C. §§ 105, 361, 362, and 363 and Bankruptcy
Rules 2002, 4001, and 9014, the Debtor requests that the Court enter an order (i) approving the
Debtor’s use of Cash Collateral, (ii) providing adequate protection for, and to the extent of, any
diminution in the value of the Cash Collateral, and (iii) scheduling a final hearing (the “Final
Hearing”) for this Court to consider entry of a final order (the “Final Order”) authorizing and
approving the relief requested in this Motion.

                                  APPLICABLE AUTHORITY

        16.    Under 11 U.S.C. § 363(c)(2), a debtor may use cash collateral if each entity that
has an interest in such cash collateral consents or if the Court, after notice and a hearing,
authorizes the use of the cash collateral. Cash collateral is defined as, “[C]ash, negotiable
instruments, documents of title, securities, deposit accounts, or other cash equivalents whenever
acquired in which the estate and an entity other than the estate have an interest […].” 11 U.S.C. §
363(a).

        17.     Pursuant to 11 U.S.C. § 363(c)(3), the Court must condition a debtor’s use of cash
collateral as is necessary to provide adequate protection of the interest in the cash collateral
claimed by a party.

       18.     Bankruptcy Rule 4001(b) and (d) governs the procedure for consideration of
motions to use cash collateral, and both of these subsections provide for expedited consideration
of such motions for cases in which immediate interim relief may be crucial to the success of a
reorganization.

        19.    At a hearing on a debtor’s motion for the use of cash collateral, the debtor bears
the burden of proof on the issue of adequate protection, and the party claiming an interest in the
cash collateral bears the burden of proof on the issue of the validity, priority, or extent of the
lien. 11 U.S.C. § 363(p)(2) (“In a hearing under [§ 363], the entity asserting an interest in
property has the burden of proof on the issue of the validity, priority, or extent of such interest.”).

           Failure to Obtain the Immediate Interim Use of Cash Collateral Would Cause
                             Immediate and Irreparable Harm.

        16.      The immediate use of cash collateral is necessary, and it will stabilize the
Debtor’s operations and revenue by allowing the Debtor to maintain adequate staffing levels
sufficient to operate the Debtor’s business. Without authority to use the Cash Collateral, the
Debtor will not be able to function as a going concern and will not be able to proceed to
consideration of a plan of reorganization. The Debtor possesses substantial assets which could be
lost entirely if the Debtor is unable to resume operations. Accordingly, authority to use the Cash
Collateral is necessary to avoid the shutdown of the Debtor’s business, and will be in the best
interests of the Debtor, its estate and its creditors.
         Case 21-32124 Document 3 Filed in TXSB on 06/23/21 Page 5 of 7




                           The Proposed Adequate Protection is Sufficient.

        17.     The Debtor intends to provide adequate protection, to the extent of the aggregate
diminution in value of Pre-Petition Collateral and Replacement Collateral (collectively, the
“Collateral”) from and after the Petition Date, to Veritex for the use of the Cash Collateral by: (a)
maintaining the going concern value of the Debtor’s business by using the Cash Collateral to
continue to operate the business and administer this Chapter 11 Case; (b) providing to the Bank a
replacement lien pursuant to 11 U.S.C. § 361(2) in the Debtor’s assets, with such lien being
junior in priority only to (i) Veritex’s pre-petition liens, (ii) valid, enforceable, perfected and
nonavoidable liens and security interests on the assets of Debtor that existed on the Petition Date
and were superior in priority to Veritex’s liens as of the Petition Date, and (iii) fees payable to
the Clerk of this Court or, pursuant to 28 U.S.C. §1930, the United States Trustee.

        18.     The Debtor believes that Veritex is adequately protected for the use of the Cash
Collateral in that the orderly operation of the Debtor’s business generates sufficient revenues to
protect any diminution in value of the Collateral. Indeed, the continuation of the Debtor’s
operations presents the best opportunity for Veritex to receive the greatest recovery on account
of their claims. Accordingly, the Debtor submits that use of the Cash Collateral will allow the
Debtor to continue its operations and thereby protect the Lender’s interests.

        19.     Courts have consistently recognized that the preservation of the going concern
value of secured creditor’s collateral constitutes adequate protection of such creditors’ interest in
the collateral. See, e.g., In re Pursuit Athletic Footwear, Inc., 193 B.R. 713, 716 (Bankr. D. Del.
1996) (holding that if there is no actual diminution of value of collateral and the debtor can
operate profitably post-petition, then the secured creditor is adequately protected); In re 499 W.
Warren St. Assocs., Ltd. P’ship, 142 B.R. 53, 56 (Bankr. N.D.N.Y. 1992) (finding a secured
creditor’s interest in collateral adequately protected when cash collateral was applied to normal
operating and maintenance expenditures on the collateral property); In re Stein, 19 B.R. 458, 460
(Bankr. E.D. Pa. 1982) (creditors’ secured position would be enhanced by the continued
operation of the debtors’ business); In re Aqua Assocs., 124 B.R. 192, 196 (Bankr. E.D. Pa.
1991) (“The important question, in determining whether the protection to a creditor’s secured
interest is adequate, is whether that interest, whatever it is, is being unjustifiably jeopardized.”)
(citation omitted).

                        REQUEST FOR PRELIMINARY HEARING

       20.      An immediate need exists for the Debtor to obtain approval of the use of Cash
Collateral in order to meet key expenses as described above and as identified in the attached
Budget. Without the immediate use of the Cash Collateral for an interim period, the Debtor will
be unable to resume operations and risks the loss of significant assets. Clearly this would have a
severe negative impact upon the Debtor’s going concern value and ability to successfully create
value for all creditors. The Debtor’s business, as a going concern, has a value far in excess of any
value that might be obtained in a chapter 7 liquidation. Accordingly, it is imperative that a
preliminary hearing be set immediately.
         Case 21-32124 Document 3 Filed in TXSB on 06/23/21 Page 6 of 7




        21.     Pursuant to Bankruptcy Rule 4001, the Debtor requests that the Court set a
preliminary hearing on the use of Cash Collateral, and that at such preliminary hearing, the Court
(i) authorize the temporary use of Cash Collateral consistent with the Budget, in order to avoid
immediate and irreparable harm to these bankruptcy estates pending a final hearing and (ii) direct
Compass to release the reserve funds it currently holds to the Debtor in order to provide the
Debtor to sufficient cash to fund the expenses shown in the Budget.

                              REQUEST FOR FINAL HEARING

        22.    Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtor also request
that the Court set a date for a final hearing as soon as practicable and fix the time and date prior
to the Final Hearing for parties to file objections to this Motion.

                                             NOTICE

        23.     Notice of this Motion will be provided by email, when available, or by First Class
U.S. Mail to: (i) the Office of the United States Trustee for the Southern District of Texas; (b) the
Debtor’s secured creditors, including the Lenders; (c) the parties listed on the Debtors’ master
service list. The Debtors submit that, in light of the nature of the relief requested, no other or
further notice need be given.

        WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests this Court
enter its Order authorizing the use of Cash Collateral, providing the adequate protection outlined
herein, and for all other relief to which it may be entitled.


                               Respectfully submitted,

                               WALDRON & SCHNEIDER, L.L.P.

                               /s/ Kimberly A. Bartley
                               Kimberly A. Bartley
                               SBN 24032114
                               kbartley@ws-law.com
                               15150 Middlebrook Drive
                               Houston, Texas 77058
                               Tel: (281) 488-4438 / Fax: (281) 488-4597
                               PROPOSED COUNSEL FOR DEBTOR-IN-POSSESSION
         Case 21-32124 Document 3 Filed in TXSB on 06/23/21 Page 7 of 7




       CERTIFICATE OF ACCURACY PURSUANT TO LOCAL RULE 9013-1(I)

       I hereby certify to the accuracy of the matters set forth in the foregoing motion.

                                             /s/ Kimberly A. Bartley
                                             Kimberly A. Bartley


                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Motion will be via First Class U.S. Mail, email or the
Court’s EM/ECF electronic system on the 24th day of June, 2021.

                                             /s/ Kimberly A. Bartley
                                             Kimberly A. Bartley
